         Case 4:19-cv-07123-PJH Document 138 Filed 09/04/20 Page 1 of 4




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12   Attorneys for Plaintiffs WhatsApp Inc. and
     Facebook, Inc.
13
     [Additional counsel listed on signature page.]
14

15                                 UNITED STATES DISTRICT COURT

16                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

17                                         OAKLAND DIVISION

18    WHATSAPP INC., a Delaware corporation,
                                        )             Case No. 4:19-cv-07123-PJH
      and FACEBOOK, INC., a Delaware    )
19    corporation,                      )             STIPULATION AND [PROPOSED]
                                        )             ORDER TO ENLARGE TIME BY TWO
20                    Plaintiffs,       )             DAYS TO FILE REPLIES IN SUPPORT
                                        )             OF (1) MOTION TO STAY PENDING
21           v.                         )             APPEAL; AND (2) MOTION TO
                                        )             COMPEL DISCOVERY
22    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )             Ctrm: 3
23                                      )             Before the Honorable Phyllis J. Hamilton
                      Defendants.       )
24                                      )             Action Filed: October 29, 2019
                                        )
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         Case 4:19-cv-07123-PJH Document 138 Filed 09/04/20 Page 2 of 4




 1          Pursuant to Local Rule 6-1(b), Plaintiffs WhatsApp Inc. and Facebook, Inc. (“Plaintiffs”)

 2   and Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited

 3   (“Defendants”) stipulate as follows:

 4          1. Defendants’ reply in support of their motion to stay (Dkt. No. 116) is currently due by

 5   September 9, 2020. Dkt. No. 122.

 6          2. Plaintiffs’ reply in support of their motion to compel (Dkt. No. 117) is currently due by

 7   September 9, 2020. Dkt. No. 126.

 8          3. The parties desire a mutual extension of time for these filings from September 9, 2020 to

 9   September 11, 2020, and agree that such extension is in the interest of efficient progress in this case

10   and will not affect any other currently pending deadlines.

11          4. The parties propose, subject to the Court’s approval, that the deadlines for Defendants’

12   reply in in support of their motion to stay (Dkt. No. 116) and Plaintiffs’ reply in support of their

13   motion to compel (Dkt. No. 117) shall be extended so that both are due September 11, 2020.

14          5. The parties respectfully request that the Court enter the attached proposed order.

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     STIPULATION AND [PROPOSED] ORDER TO ENLARGE TIME BY TWO DAYS TO FILE REPLIES IN SUPPORT OF (1) MOTION
     TO STAY PENDING APPEAL; AND (2) MOTION TO COMPEL DISCOVERY – CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 138 Filed 09/04/20 Page 3 of 4




 1    Dated: September 4, 2020                     DAVIS POLK & WARDWELL LLP

 2

 3
                                                   By: /s/ Micah G. Block
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                                                         Technologies Limited And Q Cyber
27                                                       Technologies Limited

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     STIPULATION AND [PROPOSED] ORDER TO ENLARGE TIME BY TWO DAYS TO FILE REPLIES IN SUPPORT OF (1) MOTION
     TO STAY PENDING APPEAL; AND (2) MOTION TO COMPEL DISCOVERY – CASE NO. 4:19-CV-07123-PJH
         Case 4:19-cv-07123-PJH Document 138 Filed 09/04/20 Page 4 of 4




 1                                       FILER’S ATTESTATION

 2          Pursuant to Civil L. R. 5-1(i)(3), regarding signatures, Micah G. Block hereby attests that

 3   concurrence in the filing of the document has been obtained from all of the signatories above.

 4    Dated: September 4, 2020                           /s/ Micah G. Block
 5                                                       Micah G. Block

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                                            PROPOSED ORDER
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     PURSUANT TO THE STIPULATION, IT IS SO ORDERED.                               S DISTRICT
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      Dated: September 4, 2020                                                           llis J. H
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                                                                               Judge P




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14                                                       HONORABLE PHYLLIS J. HAMILTON
                                                                      RT




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                                                         U.S. DISTRICTERJUDGE
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     STIPULATION AND [PROPOSED] ORDER TO ENLARGE TIME BY TWO DAYS TO FILE REPLIES IN SUPPORT OF (1) MOTION
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